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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

 BARBARA TULLY,                               )
 KATHARINE BLACK,                             )
 MARC BLACK,                                  )
 SHELLY BROWN,                                )
 DAVID CARTER,                                )
 REBECCA GAINES,                              )
 JANICE JOHNSON,                              )
 ELIZABETH KMIECIAK,                          )
 CHAQUITTA MCCLEARY,                          )
 KATHERINE PAOLACCI,                          )
 DAVID SLIVKA,                                )
 DOMINIC TUMMINELLO,                          )
 INDIANA VOTE BY MAIL, INC.,                  )
                                              )
                           Plaintiffs,        )
                                              )
                      v.                      )     No. 1:20-cv-01271-JPH-DLP
                                              )
 PAUL OKESON,                                 )
 S. ANTHONY LONG,                             )
 SUZANNAH WILSON OVERHOLT,                    )
 ZACHARY E. KLUTZ,                            )
 CONNIE LAWSON,                               )
                                              )
                           Defendants.        )

             PRELIMINARY INJUNCTION SCHEDULING ORDER
               HON. DORIS L. PRYOR, MAGISTRATE JUDGE

       The parties appeared by counsel telephonically for a telephonic status

 conference on June 18, 2020 pursuant to Rule 16 of the Federal Rules of Civil

 Procedure regarding the Plaintiffs' Motion for Preliminary Injunction, Dkt. [13].

 The Court establishes the following schedule to prepare this matter for a hearing on

 that motion:

       1. Discovery shall commence immediately.
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        2. The parties are to serve requests for production, along with any

 interrogatories or requests for admissions, focused upon the issues to be addressed

 in the parties' briefing, by no later than June 24, 2020. The parties shall fully

 respond to such discovery requests on or before July 18, 2020, including the

 production of any documents requested and the logging of any privileged or other

 documents withheld.

        3. All discovery requests and responses pursuant to this order shall be served

 by electronic means with telephonic confirmation of receipt on or before the date

 due.

        4. Each party may conduct no more than five depositions in preparation for

 briefing on the motion for preliminary injunction. Each such deposition shall last no

 more than seven hours. All such depositions shall be completed on or before July

 20, 2020. The parties shall work together to ensure the scheduling of the

 depositions in compliance with this order.

        5. On June 8, 2020, the Plaintiffs filed their Motion for Preliminary

 Injunction, Dkt. [13]. The Defendants shall file a response to the preliminary

 injunction motion by July 24, 2020. The Plaintiffs' reply is due on July 31, 2020.

        6. Unless otherwise agreed by the parties or ordered by the Court, all

 electronically stored information will be produced in its native format.

        7. In the event that a document protected by the attorney-client privilege, the

 attorney work product doctrine or other applicable privilege or protection is

 unintentionally produced by any party to this proceeding, the producing party may
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 request that the document be returned. In the event that such a request is made, all

 parties to the litigation and their counsel shall promptly return all copies of the

 document in their possession, custody, or control to the producing party and shall

 not retain or make any copies of the document or any documents derived from such

 document. The producing party shall promptly identify the returned document on a

 privilege log. The unintentional disclosure of a privileged or otherwise protected

 document shall not constitute a waiver of the privilege or protection with respect to

 that document or any other documents involving the same or similar subject

 matter.

       8. If the required conference under Local Rule 37-1 does not resolve discovery

 issues that may arise, the parties will request a telephonic status conference with

 the Magistrate Judge prior to filing any disputed motion to compel or for a

 protective order. This paragraph does not apply to any nonparty discovery served.

       So ORDERED.


        Date: 6/22/2020




 Distribution:

 All ECF-registered counsel of record via email.
